Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 1 of 41

 

~ Exhibit 21 -
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 2 of 41
5, TQ:d4

 

»,
perenet

 

   

Can you send any other CSV or
ndap legal docs.

Can u send the peak
agreement, any other liabilities
on the business. Thank you. —_

eters wr
RSE E

cee

 

Can you send it. With all other
docs. Creating a repository that

tg

mamas

eae
aid sees

ene

 
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 3 of 41

 

- Exhibit 22 7
 

 

 

Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 4 of 41

 

 

All co want to know all
arrangements that are potential
liabilities. Their lawyers will ask
for it. We are trying to show
that not just 1 party in mix.

   

    
   

es
ee
ee
oe

 

     
 

  

They won't take sellers word
for tt. They have to go thru their
process. They are also PE
owned FYI.

 
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 5 of 41

 

~ Exhibit 23 -
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 6 of 41

INTENTIONALLY
OMITTED
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 7 of 41

 

- Exhibit 24 -
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 8 of 41

INTENTIONALLY
OMITTED
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 9 of 41

   

cE san — —
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 10 of 41

COOPER SQUARE, LLC / COOPER SQUARE VENTURES, LLC
SERVICES AGREEMENT

This Agreement for Services is a binding agreement (this “Agreement’”) that is made and entered into as of
February 15, 2017 (the “Effective Date”) by and between Summit Rock Holdings LLC, a Delaware limited liability company
(“Consultant”) and the following: Cooper Square Ventures, LLC, and Cooper Square, LLC, and NDAP, LLC (dba/ Car Part
Kings) and NDA Holdings LLC (the “Company”). “Consultant” and “Company” herein referred to individually as a “Party,”
or collectively as the “Parties’).

RECITALS

WHEREAS, Consultant has rendered the Services (as defined below) to the Company dating from December
1, 2015 through the execution and termination of this Agreement.

WHEREAS, the Company desires to retain Consultant to perform the services described herein, and for
Consultant at its discretion to perform such services on the terms and conditions described herein.

NOW THEREFORE, in consideration of the promises and mutual agreements contained herein, the Parties
hereto, intending to be legally bound, agree as follows:

Section 1. Services

Ld. Consultant has since December 1, 2015 successfully performed, and shall continue to perform some,
of the following services for the Company (or its designee): (i) providing strategic and financial analysis and conduct due
{nce (which may include constructing financial models and managing certain aspects of Company transactions), (ii)
‘yw. .ve the Company in connection with the sale of assets of the Company, the merger or joint venture of the Company with
another entity, and /or the recapitalization of the Company, a change of control, or a licensing transaction of the Company (iii)
solicit proposals from investors and purchasers, (iv) provide advice to the Company in the negotiation process, (v) perform
business development for current businesses and the sourcing of new investment opportunities for the Company, (vi)
contribute toward the institutionalization of the Company and develop its processes to enable capital raising for the execution
of transactions, and (vii) contribute toward the formalization of business development or investment processes, protocols and
operating procedures (items (i) through (vii), together with other services previously provided, are collectively referred to
herein as the “Services”.

Section 2. Compensation and Consideration
2.1. The Company hereby engages the Consultant. As compensation and consideration for some of the

Services rendered by Consultant, the Company will provide a one-time payment of US$160,000 in cash by wire transfer
immediately upon the closing of a transaction. The Company in compensation and consideration of Services provided by the
Consultant, Consultant will be in addition be awarded and paid by Company in cash by wire transfer an amount equal to
0.25% of the Purchase Price for a transaction resulting in a change of control of the NDA Holdings, LLC to another Party
which shall be payable upon the closing of a transaction.

The term “Purchase Price” shall encompass the value of (1) all consideration received or to be received by the Company
pursuant to a transaction, whether such consideration is paid in cash, debt which for purposes of calculating the “Purchase
Price” shall be reduced to present value or equity securities, when received and (2) future monetary considerations payable to
Company or its owners (whether prior to or post termination of this Agreement) including the earn outs when paid, royalty
fees, license fees, when paid and equity ownership (or in the case of a sale of assets, the consideration received for such assets,
7" * received and (3) to the extent not included in the Purchase Price, the value of any outstanding long-term debt of the
\_. 888 assumed by the investor as part of the transaction. Note, any outstanding payables greater than 90 days will be
considered as long term debt. If a transaction involves a combination or series of transactions, the Purchase Price shall be the

I
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 11 of 41

sum of (i) Purchase Price at the initial closing plus (ii) the Purchase Price at each subsequent date, which shall be calculated
and paid when received by Company.

oo mm

Section 3. Confidentiality

3.1. Confidentiality. Consultant will do everything reasonably possible to preserve Company
confidentiality. Company will not hold Consultant liable for any actions by investor or potential purchasers, or any other
parties related to the process that may violate the confidentiality. Consultant agrees to hold in confidence all proprietary
information provided by the Company in connection with this project. Consultant agrees not to share any confidential
information with persons outside of its office without the Company’s consent, except that the Consultant may share the
‘materials with potential third parties in connection with its duties. Confidential Information shall not include any such
information which (i) was publicly known or made generally available prior to the time of disclosure to Consultant; (ii)
becomes publicly known or made generally available after disclosure to Consultant through no wrongful action or inaction of
Consultant; or (iii) is in the rightful possession of or was obtained by Consultant, without confidentiality obligations or
restrictions at the time of disclosure.

Section 4. Term and Termination

4.1. Term. This Agreement shall remain in effect until after the close of a transaction with the Company
(the “Tern’”). Consultant shall continue to receive any and all accrued but unpaid Compensation and Consideration payable
to Consultant under this Agreement. Consultant shall continue to perform services and be eligible to receive any and all
compensation under this Agreement on any opportunities which, as of the date of termination any work had begun by
‘Consultant. The Company shall promptly pay to Consultant any compensation owed upon the receipt or distribution of any
funds from which Consultant is eligible for compensation under this Agreement.

Section 5. Indemnification

i 5.1. In connection with Consultant’s engagement (which engagement commenced prior to the date hereof)
\__ #ise and assist the Company, the Company, agrees to indemnify and hold harmless Consultant and its affiliates, the
respective members, directors, officers, agents and employees of Consultant and its affiliates and each other person, if any,
controlling Consultant or any of its affiliates and each of their respective successors and assigns, the fullest extent permitted
by law, from and against any losses, claims, damages, or liabilities (or actions, including shareholder actions, in respect
thereof) related to or arising out of such engagement. Company shall defend, indemnify and hold the Consultant harmless
from and against any and all liability, loss, expense, including attorneys’ fee, or claims for injury or damages (each a “Claim’”)
arising out of the performance of this Agreement. Expenses incurred by Consultant in defending any Claim shall be paid by
the Company in advance of the final disposition of such Claim upon receipt by the Company of an undertaking. Company will
reimburse Consultant and any other party entitled to be indemnified hereunder for all expenses (including counsel fees) as
they are incurred by Consultant or any such other indemnified party in connection with investigating, preparing or defending
any such action or claim whether or not in connection with pending or threatened litigation in which Consultant is a party.

If the indemnification provided for in the foregoing paragraph is judicially determined to be unavailable (other than in
accordance with the terms hereof) to any person otherwise entitled to indemnity in respect of any losses, claims, damages, or
liabilities referred to herein, then, in lieu of indemnifying such person hereunder, the Company shall contribute to the amount
paid or payable by such person as a result of such losses, claims, damages, or liabilities (and expenses relating thereto) (i) in
such proportion as is appropriate to reflect the relative benefits to the Company, on the one hand, and Consultant, on the other
hand, of the engagement provided for in this Agreement or (ii) if the allocation provided for in clause (i) above is not
available, in such proportion as is appropriate to reflect not only the relative benefits referred to in such clause (i) but also the
relative fault of the Company, as well as any other relevant equitable considerations.

The Company also agrees that neither Consultant, nor any of its affiliates nor any officer, directors, employee or agent of
Consultant or any of its affiliates, nor any person controlling Consultant or any of its affiliates, shall have any liability to the
Company for or in connection with such engagement. The foregoing agreement shall be in addition to any rights that
iltant, the Company or any indemnified party may have at common law or otherwise, including, but not limited to any
rigat to contribution. For the sole purpose of enforcing and otherwise giving effect to the provisions of this Agreement, the
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 12 of 41

Company hereby consents to personal jurisdiction and service and venue in any court in which any claim which is subject to
this agreement is brought against Consultant or any other indemnified party.

a : :
f % Section 6. Miscellaneous

6.1. Governing Law; Consent to Personal Jurisdiction. This Agreement shall be governed by the laws of
the State of New York, without regard to the conflicts of law provisions of any jurisdiction.

6.2. Authority / Indemnity. The person(s) signing this Agreement has full legal authority to bind the
Company to this Agreement.

6.3. Arbitration. Any dispute, controversy or claim arising out of or relating to this Agreement including,
but not limited to, the validity, interpretation, performance, breach or termination of this Agreement shall be resolved in
accordance with the procedures specified in this Agreement, which shall be the sole and exclusive procedures for the
resolution of any such disputes. The Parties shall attempt in good faith to resolve any dispute arising out of or relating to this
Agreement promptly by negotiation. In the event that any dispute is not resolved to the satisfaction of any Party, such Party
may provide the other written notice of any dispute not resolved in the normal course of business (a “Dispute Notice”). If a
dispute has not been resolved within 30 days after delivery of the related Dispute Notice, such Party may initiate arbitration of
the dispute in the manner hereinafter provided. Such dispute shall be settled by arbitration in accordance with the then current
rules of the American Arbitration Association (“444”) by a sole independent and impartial arbitrator, which arbitrator shall
be appointed under the procedures of the AAA Commercial Arbitration Rules and Mediation Procedures. The arbitration
shall be governed by the United States Arbitration Act, 9 U.S.C. Sections 1-16, and judgment upon any award rendered by the
arbitrator may be entered by any court having jurisdiction thereof. The place of arbitration shall be New York, New York.
The procedures specified in this section shall be the sole and exclusive procedures for the resolution of disputes arising
between the Parties arising out of or relating to this Agreement. All negotiations pursuant to this section shall be confidential
and treated as compromise and settlement negotiations for purposes of the Federal Rules of Evidence and applicable state
rules of evidence.

j 6.4. Assignability. This Agreement will be binding for the benefit of the Consultant’s heirs, executors,
assigns, administrators, and other legal representatives. There are no intended third-party beneficiaries to this Agreement,
except as expressly stated. Notwithstanding anything to the contrary herein, the Company may assign this Agreement and its
rights and obligations under this Agreement to any successor to all or substantially all of the Company’s relevant assets,
whether by merger, consolidation, reorganization, reincorporation, sale of assets or stock, or otherwise.

6.5. Entire Agreement. This Agreement constitutes the entire agreement and understanding between the
Parties with respect to the subject matter herein and supersedes all prior written and oral agreements, discussions, or
representations between the Parties. Consultant represents and warrants that he/she is not relying on any statement or
representation not contained in this Agreement. To the extent any terms set forth in any exhibit or schedule conflict with the
terms set forth in this Agreement, the terms of this Agreement shall control unless otherwise expressly agreed by the Parties in
such exhibit or schedule. The undersigned acknowledges that the Company has received all necessary approvals, read the
Agreement and received a copy and understands that this is a legal binding contract.

6.6. Survival. All sections of this Agreement will survive termination or expiration of this Agreement.

6.7. Headings. Headings are used in this Agreement for reference only and shall not be considered when
nterpreting this Agreement.

6.8. Severability. If a court or other body of competent jurisdiction finds, or the Parties mutually believe,
iny provision of this Agreement, or portion thereof, to be invalid or unenforceable, such provision will be enforced to the
naximum extent permissible so as to effect the intent of the Parties, and the remainder of this Agreement will continue in full
‘orce and effect.

6.9. Modification, Waiver. No modification of or amendment to this Agreement, nor any waiver of any
‘ygnes under this Agreement, will be effective unless in writing signed by the Parties. Waiver by the Company of a breach of
iny provision of this Agreement will not operate as a waiver of any other or subsequent breach.

4
2
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 13 of 41

6.10. Notices. Any notice or other communication required or permitted by this Agreement to be given to a
Party shall be in writing and shall be deemed given (i) if delivered personally or by commercial messenger or courier service,
(ii) when sent by electronic mail or confirmed facsimile, or (iii) if mailed by U.S. registered or certified mail (return receipt
* sted), to the Party at the Party’s address written below or at such other address as the Party may have previously
o,-~ified by like notice. If by mail, delivery shall be deemed effective three business days after mailing in accordance with

“this section.

(a) If to Cooper Square Ventures, LLC or NDAP, LLC (dba/Car Part Kings), to:

1010 Northern Blvd, Suite 208
Great Neck, NY 11021

(b) If to Consultant, to the address for notice on the signature page to this Agreement or, if no such
address is provided, to the last address of Consultant provided by Consultant to the Company.

6.11. Attorneys’ Fees. In any proceeding at law or equity that is brought by one of the Parties to this
Agreement to enforce or interpret the provisions of this Agreement, the prevailing Party may be awarded reasonable
attorneys’ fees, in addition to any other relief to which that Party may be entitled.

6.12. Signatures. This Agreement may be signed in multiple counterparts, each of which shall be deemed
an original, with the same force and effectiveness as though executed in a single document.

4 ITNESS WHEREOF, the Parties hereto have executed this Consulting Agreement as of the date first written above.

SUMMIT ROCK HOLDINGS, LLC COOPER SQUARE, LLC

COOPER SQUARE VENTURES, LLC

 

 

By: By: .
‘Name: Jeremy Falk Name: Michael Dardashtian
Title: Authorized Signatory Title: Member
Address for Notice:
By:

 

Name: David Gitman

Title: Member
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 14 of 41

  

   

- Exhibit 26 7
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 15 of 41

INTENTIONALLY
OMITTED
“ee,

Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 16 of 41

 
°17-cv-04327-LLS-RWL
exmon Po SHS -png

   
  

: . .
Mail
Ganges
SHR-CSV services agreement
Jeremy Falk <jeremy.falk@gmail.com>
To: Michael Dash <mdash@ndap-lic.com>
Co: David Gitman <dgitman@ndap-lic.com>

Mistyped. No offer

Document 137-8

On Mar 3, 2017, at 12:24 PM, Michael Dash <mdash@ndap-lic.com> wrote:

Counter? Was there an initial offer?

On Mar 3, 2017, at 12:19 PM, Jeremy Falk <jeremy.falk@gmail.com> wrote:

Will review, No counter offer yet

https://drive.google.com/drive/folders/OB6P91Jw4Xf19bVhXa25vS3JvNIE

Filed 05/01/20 Page 17 of 41
Page | of 1

Mike Dash <mdash@ndap-llc.com>

Fri, Mar 3, 2017 at 12:27 PM

6/7/2017
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 18 of 41

 

- Exhibit 28 -
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 19 of 41

5/30/2017 ndap Mail - Consulting Agreement: 3.6.2017 - draft

> byGoogke

  

eRe
| i | Mike Dash <mdash@ndap-lic.com>

 

 

Consulting Agreement: 3.6.2017 - draft

 

Jeremy Falk <jeremy.falk@gmail.com> Sun, Mar 5, 2017 at 8:23 AM
To: Mike Dash <mdash@ndap-lic.com>, David Gitman <dgitman@ndap-lic.com>

Guys,

| reviewed the lawyer's comments. Below is an explanation of the majority of the points in question. | have accepted what
| could and kept the original language where | cannot (and it is unreasonable for me to accept.) See highlights below.
Some other adjustments are included in the doc. Can one of you give me a call to discuss?

Introductory paragraph: Cooper Square LLC: Attached is the operating agreement that I received from Mike that has CSV
incorporated as “Cooper Square”. It may have been an error in initial drafting but I have not seen documentation that shows “Cooper
Square Ventures,” only “Cooper Square”. I have included both LLC names to ensure that the correct entity is captured. I have
attached your operating agreement that I received. If there is an alternative document I should review, please let me know. Otherwise,
let’s keep both listed names in the document.

Section 1. Recitals:

Please give me a call to discuss this point. I appropriately included the total services that have been provided, not just transaction
process execution. This preference should not matter to CSV since it is merely a description of services.

The key point outlined in 2 places in the document is that CSV only gives consideration to Consultant if a transaction is consummated.
I would like to discuss this so give me a call.

Section 2. Compensation Timine/Schedule:

The compensation payment schedule should be consistent with: 1) what you previously agreed to with Peak (in fact, Peak had better
terms since you were going to pay them in full at signing of a transaction); and 2) standard practice in the industry.

Instead of Consultant being placed at the front of the line, CSV is pushing me to the back of the line which is highly unusual.
However, if you prefer to stage payments to me then an accommodation could be that it should be by percentage of distribution that
CPK receives. As an accommodation, we can do 60% of distributions to Consultant until the fee is paid out. That to me seems like a
reasonable compromise.

Section 2: Purchase Price Definition:

I have kept the changes here that I believe J can live with. 1 am keeping the other parts of the definition consistent with what was
originally agreed to with Peak. It is consistent with industry practice.

Section 4. Term and Termination:

I understand what you are seeking to accomplish. I propose that the Agreement shall remain in effect until the later of: 1) submission
of an offer or 2) May 30, 2017. I understand your desire to have me drive the transaction quickly so I moved the date forward (from
June to May) as an accommodation. However, I cannot speak to your ability or BBBrability to close by then so J cannot agree to
your “closing of transaction” stipulation. That middle ground should work.

Section 5. Indemnification:

hitps:/mail googte.com/mail/u/1/?uiz2&ik=cc55727el c&view=pi&msg= | 5a9ea37bd0f2ed8&q=Consulting 20A greement%3A %203.6.2017%20-Mdrafit&qs=true... 1/2
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 20 of 41

5/30/2017 ndap Mail - Consulting Agreement: 3.6.2017 - draft

hups://mail .google.com/mail/u/!/2ui=2&ik=ce55727e |c&view=pr&msg= | 5a9ea37bd0f2cd8&q=Consulting%20A greement%3A %203 6.201 7%20-H20dratt&qs=true... 2/2

This needs to stay in for the following reasons: 1) It was in the Peak document and agreed to by CSV and signed off by your attorney;
and 2) It is a standard clause in these arrangements; and 3) With everything going on between the CSV partners, I feel itis necessary
at this juncture to keep the indemnification clause in the document. I have not run the business since inception so I should not be liable
for any materials I have provided.

Section 6.3 Arbitration:

This clause is standard in Agreements. It is intended to find a cost effective and efficient means to resolve disagreements. If you want
to go down a more challenging track then you can force any disputes to court which is not in your interest. | would encourage standard
arbitration as an efficient alternative. .

Section 6.11. Attorney’s fees:

This is included since it keeps everyone “honest and on the same page”. Reasons to comply since it can be expensive to “not comply”
and a further incentive to do as was negotiated.

Give me a call to discuss and let’s get this done soon so we can get to a transaction asap!

Jeremy

 

2 attachments

ra ConsultingAgreementv1_3.6.17.docx
35K

ar Cooper Square Ventures, LLC - Operating Agreement.pdf
3821K
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 21 of 41

 

- —- Exhibit29 Qy -
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 22 of 41

5/30/2017 ndap Mail - CPK: SRH Consulting Agreement

 

. i Mike Dash <mdash@ndap-ilc.com>
4 tyGoogle

 

CPK: SRH Consulting Agreement

 

Michael Dash <mdash@ndap-lic.com> Tue, Mar 7, 2017 at 10:03 AM
To: David Gitman <david@gitman.net>

Thats exactly what | had Jeff draft in the agreement, he is including language that makes it open ended and can be
construed as consulting services in a contract if he were to chose at any point to sue us. | made it very clear in our
version he only gets paid if a deal closes. He changed it.

Michael Dash

ndap

Tel: (646) 553-5918

mdash@ndap-lic.com | http:/Awww.ndap-lic.com

On Tue, Mar 7, 2017 10:02 AM, David Gitman david@gitman.net wrote:
How do we owe him money if there is no deal?

On Tue, Mar 7, 2017 at 10:00 AM Michael Dash <mdash@ndap-lic.com> wrote:

I'm trying to protect us. | suggest you talk to Jeff, what it seems Jeremy is trying to do is attach himself to NDAP and
CSV so that we possibly owe him money if a deal is not done or we try and do something with CR. I'm not
comfortable with that. Also, he is including LLC's that don't exist in this agreement which put's us at risk. He's
including potential deals in this agreement that don't exist. He's refused to show me an offer letter and refused to
have me on the phone WiRRaRgED roving that there is even an offer at this point.. have you seen or heard anything
fron Peeps WViy are we jumping through hoops if no deal is on the table?

Michael Dash

ndap

Tel: (646) 553-5918

mdash@ndap-lic.com | http:/www.ndap-lic.com

On Tue, Mar 7, 2017 9:56 AM, David Gitman david@gitman.net wrote:
Jeremy, thank you for ail your hard work. We truly appreciate it. All your suggested changes are reasonable.

:

Mike, this situation has become emotional and is embarrassing at this point. Please execute this immediately. I'm
ready to counter sign.

On Tue, Mar 7, 2017 at 9:51 AM Jeremy Falk <jeremy.falk@gmail.com> wrote:
bt | Mike and Dave,

 

: A included Dave on this email chain. | reviewed CSV's proposed changes and included revisions to the attached
: | file. | have been counseled that the edits presented are reasonable, appropriate and put me in a far worse
| position than industry standard. My lawyer is also expressing to me that what CSV is asking of me is beyond
, { normal, and telling me under no circumstances to sign this attached agreement. My changes are appropriate and
| reasonable. | am willing to execute an agreement if we implement the changes that were agreed to on Sunday
that are now correctly reflected in the doc.

 

We have spent a lot of time on this agreement and | have stretched as far as | can. | also recognize that you feel
that you have extended yourselves too. This is not an emotional decision for me - If we can get this agreement
done then let's get to However, the points below are necessary for me. | can't prevent you from flushing to

hups://mail .google.com/mail/u/ 1/2ui=2&ik=cc55727e | c&view=pt&mse= | 5aa94e | 4b0e5897&qujeremy.falk%40 gmail com&qs=truc&search=query &dsqt=1 &siml=l... 1/2
5/30/2017

 

 

https://mail googte.com/mail/u/1/Iui=2&ik=ce55727e I c&view=pt&emsg=! Saa94c 14b0e5897 kq=jeremy.falk 40gmail com&qs=truek&search=query&dsqi= | &siml= 1... 2/2

 

 

Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 23 of 41

ndap Mail - CPK: SRH Consulting Agreement
zero ail the progress that has been made. Let me know how you guys want to proceed.

1) There are minor tweaks relating to incorrect grammar, misspellings, missing periods etc.

2) Signature line: {| re-included David Gitman in the signature of this document. He needs to be included in this
process and execute this agreemeni. It cannot only be Mike. You are partners in CSV.

3) Section 1: Services. i have been providing services to you guys for a few years. My lawyer says that it should
reflect a “Since December 1, 2015" time frame in the "Services" segment. If you don't want to include it in the
document then the alternative | see is that | notify eof such and then either Mike or Dave resends to BAP the
same documents that | have already provided so that it is coming from a Member of CSV. Up to you which route
you want to take. | need to then have the data come again from CSV to SeSThat can practically happen
seamlessly. :

4) Section 2. Mike and | agreed on to Sunday to "1/3, 1/3, 1/3 on all distributions". The draft | received

yesterday did not reflect what we agreed to on Sunday. They have me being paid at an unusual pace which | am
not comfortable with. We directly discussed the scenario that is now drafted in this Agreement. | cannot execute
anything other than this schedule. | implemented very accommodating terms here: Industry standard and your
former Peak agreement has this role being paid upfront. What | drafted is what we discussed and both agreed to

on Sunday.

Why the "30 day” delay on distributions? | can understand if you need a few days to execute so | am agreeing to
7 days. The 30 days is what you offer business vendors. Immediate payment is standard in this scenario.

5) Section 6.3: Indemnification. An appropriate indemnification needs to be included. | originally included the
Peak indemnification clause which was much longer. You edited and | revised down to 1 paragraph. This is
standard practice and | have limited to the extent that anyone feels comfortable.

§) Section 4: Term. | already discussed this with Mike and you agreed to this on Sunday. It never made it in to the
latest draft. Agreement remains in effect until a date (| proposed 4/14) or an indication of interest froma You
originally drafted a signed transaction closing which is unreasonable. We agreed to this change on Sunday.
Please review this yourselves and determine what are next steps.

Jeremy
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 24 of 41

EXHIBIT B
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 25 of 41
DocuSign Envelope ID: 21A1002A-987E-448B-AD4F-7B2A738C104D
COOPER SQUARE VENTURES, LLC/NDAP,LLC

SERVICES AGREEMENT

This Agreement for Services is a binding agreement (this “Agreement’) that is made and entered into as of
March 3, 2017 (the “Effective Date”) by and between Summit Rock Holdings LLC, a Delaware limited liability company
(“Consultant”) and the following: Cooper Square Ventures, LLC, and NDAP, LLC (dba/ Car Part Kings) (the “Company”.
“Consultant” and “Company” herein referred to individually as a “Party,” or collectively as the “Parties”.

RECITALS

 

WHEREAS, Company has engaged in negotiations with & oe (the “Buyer’”) concerning a

contemplated sale of NDAP, LLC and/or its assets to Buyer (the “Transaction”); and

WHEREAS, the Company desires to retain Consultant to perform the services described herein with respect
to negotiations with Buyer solely with reference to the Transaction, and for Consultant to perform such services on the terms
and conditions described herein.

NOW THEREFORE, in consideration of the promises and mutual agreements contained herein, the Parties
hereto, intending to be legally bound, agree as follows:

Section 1. Services
1.1. Consultant since December 1, 2015 has provided Services and shall continue to perform the following

'"sérvices for the Company (or its designee) solely with respect to the Buyer and solely concerning the Transaction: (i)
providing strategic and financial analysis and conducting due diligence (which may include constructing financial models and
managing certain aspects of the Transaction), (ii) advising the Company in connection with the sale of assets pertaining to the
Transaction or the structuring of the Transaction as a merger or joint venture with Buyer, (ili) soliciting proposals from Buyer,
(iv) providing advice to the Company in the negotiation process, (v) performing business development for current businesses
and the sourcing of new investment opportunities for the Company as same may pertain to the Transaction, (vi) advising
concerning institutionalization of the Company and the development of its processes to enable capital raising for the execution
of the Transaction, and (vii) contributing toward the formalization of business development or investment processes, protocols
and operating procedures as same may pertain to the Transaction (items (i) through (vii), together with other services
previously provided, are collectively referred to herein as the “Services”).

Section 2. Compensation and Consideration
2.1. | Company hereby engages Consultant to perform the Services with Buyer solely concerning the

Transaction and for no other purpose. As compensation and in full payment and consideration of all Consultant’s services
rendered hereunder, Company shail pay Consultant a fee (the “Fee”) solely in the event of a closing of the Transaction and
solely in the event Company receives payment of the Purchase Price (as defined below). The Fee shall be calculated as

follows:
(a) The total Fee shall equal:

$110,000.00 + (0.0025 x Purchase Price)

CA\ProgramData\activePDF\DC_ENT\Tmp\ff6b 1 3\c74e4794-b1 68-47{b-a0e6-29a27 bd9c05e.docx
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 26 of 41

DocuSign Envelope 1D: 21A1002A-987E-448B-AD4F-7B2A739C104D

(b) Payment of the Fee. Consultant will receive one-third (33%) of all distributions to the Company until
__the total Fee (Section 2.1 (a@)) is paid to Consultant, after which 100% of distributions shal be paid to the Company.
~nsultant will be paid no later than seven (7) days after Company’s receipt of Purchase Price installments.

(c) The term “Purchase Price” shall encompass the value of (1) all consideration received or to be
received by the Company pursuant to a transaction, whether such consideration is paid in cash, or debt which for purposes of
calculating the “Purchase Price” shall be reduced to present value or equity securities, when received and (2) future monetary
considerations payable to Company or its owners (whether prior to or post termination of this Agreement) including the earn
outs when paid, royalty fees, license fees, when paid and equity ownership (or in the case of a sale of assets, the consideration
received for such assets, when received and (3) to the extent not included in the Purchase Price, the value of any outstanding
long-term debt of the business assumed by the investor as part of the transaction. Note, any outstanding payables greater than
90 days will be considered as long term debt if assumed by Buyer as part of the Transaction. If a Transaction involves a
combination or series of installments, the Purchase Price shall be the sum of the amount paid at the closing plus the amount of

the installments.

(d) In the event the Transaction does not close, for any reason or for no reason, NO compensation shall
be due Consultant.

Section 3. Confidentiality

3.1. Confidentiality. Consultant will do everything reasonably possible to preserve Company
confidentiality. Company will require all potential parties and professionals to whom confidential information is provided to
maintain confidentiality of all such confidential information. Consultant agrees to hold in confidence all proprietary

-+~formation provided by the Company in connection with this project. Consultant agrees not to share any confidential
armation with persons outside of its office without the Company’s consent, except that the Consultant may share the
“materials with the Buyer in connection with its duties, subject to Buyer agreeing to hold such confidential information in
confidence. Confidential Information shall not include any such information which (i) was publicly known or made generally
available prior to the time of disclosure to Consultant; (ii) becomes publicly known or made generally available after
disclosure to Consultant through no wrongful action or inaction of Consultant; or (iii) is in the rightful possession of or was
obtained by Consultant, without confidentiality obligations or restrictions at the time of disclosure.

Section 4. Term and Termination
4.1. Term. This Agreement shall remain in effect until the submission of a letter of intent or April 14,

2017, whichever shall occur first (the “Jerm’”). Any sums due consultant pursuant to Section 2.1 shall survive termination of
this Agreement.

Section 5. Intentionally Omitted
Section 6. Miscellaneous
6.1. Governing Law; Consent to Personal Jurisdiction. This Agreement shall be governed by the laws of

the State of New York, without regard to the conflicts of law provisions of any jurisdiction.

6.2. Authority. The person(s) signing this Agreement has full legal authority to bind the Company to this
Agreement.

6.3. Indemnification. (a) Company shall indemnify and hold harmless the Consultant, its officers and

employees from and against any damages, liabilities, claims, and losses, costs and expenses, but only to the extent caused by

i negligent acts, errors and omissions of Company, or of those for whom the Company is legally liable related to or arising
\ Lac of such engagement. Company shall defend, indemnify and hold the Consultant harmless from and against any and all
liability, loss, expense, including attorneys’ fee, or claims for injury or damages (each a “Claim’”) arising out of the
performance of this Agreement. Expenses incurred by Consultant in defending any Claim shall be paid by the Company in

C:\ProgramData\activePDF\DC_ENT\Timp\tf6b 1 3\c74e4 794-b | 68-47 fb-a0e6-a9a27 bdICOSe.docx
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 27 of 41

DocuSign Envelope ID: 21A1002A-987E-448B-AD4F-7B2A739C104D

advance of the final disposition of such Claim upon receipt by the Company of an undertaking. Company will reimburse
_—Gonsultant and any other party entitled to be indemnified hereunder for all expenses (including counsel fees) as they are
: “urred by Consultant or any such other indemnified party in connection with investigating, preparing or defending any such
ution or claim whether or not in connection with pending or threatened litigation in which Consultant is a party. The
Company also agrees that neither Consultant shall have any liability to the Company for or in connection with such
engagement.

(b) Consultant shall indemnify and hold harmless the Company, its officers and employees from and
against damages, liabilities and losses, costs and expenses, but only to the extent caused by the negligent acts, errors and
omissions of Consultant, or of those for whom the Consultant is legally liable, which arise out of the Consultant’s
performance of its services under this Agreement.

64.  Assignability. This Agreement will be binding for the benefit of the Consultant’s heirs, executors,
assigns, administrators, and other legal representatives. There are no intended third-party beneficiaries to this Agreement,
except as expressly stated. Notwithstanding anything to the contrary herein, the Company may assign this Agreement and its
rights and obligations under this Agreement to any successor to all or substantially all of the Company’s relevant assets,
whether by merger, consolidation, reorganization, reincorporation, sale of assets or stock, or otherwise.

6.5. Entire Agreement. This Agreement constitutes the entire agreement and understanding between the
Parties with respect to the subject matter herein and supersedes all prior written and oral agreements, discussions, or
representations between the Parties. Consultant represents and warrants that he/she is not relying on any statement or
representation not contained in this Agreement. To the extent any terms set forth in any exhibit or schedule conflict with the
terms set forth in this Agreement, the terms of this Agreement shall control unless otherwise expressly agreed by the Parties in
such exhibit or schedule. The undersigned acknowledges that the Company has received all necessary approvals, read the
Agreement and received a copy and understands that this is a legal binding contract.

6.6. Survival. All sections of this Agreement will survive termination or expiration of this Agreement.

7 6.7. | Headings. Headings are used in this Agreement for reference only and shall not be considered when
interpreting this Agreement.

6.8. Severability. If a court or other body of competent jurisdiction finds, or the Parties mutually believe,
any provision of this Agreement, or portion thereof, to be invalid or unenforceable, such provision will be enforced to the
maximum extent permissible so as to effect the intent of the Parties, and the remainder of this Agreement will continue in full

force and effect.

6.9. Modification, Waiver. No modification of or amendment to this Agreement, nor any waiver-of any
rights under this Agreement, will be effective unless in writing signed by the Parties. Waiver by the Company of a breach of
any provision of this Agreement will not operate as a waiver of any other or subsequent breach.

6.10. Notices. Any notice or other communication required or permitted by this Agreement to be given to a
Party shall be in writing and shall be deemed given (i) if delivered personally or by commercial messenger or courier service,
(ii) when sent by electronic mail or confirmed facsimile, or (iii) if mailed by U.S. registered or certified mail (return receipt
requested), to the Party at the Party’s address written below or at such other address as the Party may have previously
specified by like notice. If by mail, delivery shall be deemed effective three business days after mailing in accordance with
this section.

(a) If to Cooper Square Ventures, LLC or NDAP, LLC (dba/Car Part Kings), to:

1010 Northern Blvd, Suite 208
Great Neck, NY 11021

with a copy to:
Se Seligson, Rothman & Rothman

29 West 30" Street, 10" Floor
New York, NY 10001

C:\ProgramData\activePDF\DC_ENT\Tmp\ff6b! 3\c74e4794-b | 68-47 fb-a0e6-a9a27bd9c05e.docx
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 28 of 41
DocuSign Envelope iD: 21A1002A-987E-448B-AD4F-7B2A739C104D

Attn: Jeffrey E. Rothman, Esq.

(b) If to Consultant, to: or unless a change in address is provided
450 East 83" Street (Suite 15C)

New York, New York 10028

6.11. Intentionally Omitted.

6.12. Signatures. This Agreement may be signed in multiple counterparts, each of which shall be deemed
an original, with the same force and effectiveness as though executed in a single document.

[Signature Page Follows]

CAProgramData\activePDF\DC_ENT\Tmp\ff6b1 3\c74e4794-b1 68-47 fb-a006-a9a27bd9cOSe.docx
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 29 of 41

DocuSign Envelope ID: 21A1002A-987E-448B-AD4F-7B2A739C104D

 

 

  
    

an
IN WITNESS WHEREOF, the Parties hereto have executed this Consulting Agreement as of the date first written
above.
SUMMIT ROCK HOLDINGS, LLC COOPER SQUARE VENTURES, LLC
DocuSigned by:
uruny Falk
By: [ bre 1 ¥ i
Name: Jeremy Falk
Title: Authorized Signatory
Title: Member
NDAP, uSigned by:
By: Midvacl Dardashtion
ichae! Dardashtian
Title: Member
DocuSigned by:
| Dovid, Eitan
Name: David Gitman
Title: Member
Se

C:\ProgramData\activePDF\DC_ENT\Tmp\ff6b1 3\c74e4794-b | 68-47 fb-a0e6-29a27bd9c0Se.docx
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 30 of 41

 

- Exhibit 30 -
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 31 of 41

5/30/2017 ndap Mail - CPK: BAP Indication of Interest

   

ene
oo ad a ( | Mike Dash <mdash@ndap-tic.com>
: S wyGaoale .

 

CPK: BAP Indication of Interest

 

Jeremy Falk <jeremy.falk@gmail.com> Fri, Mar 10, 2017 at 9:03 AM
To: Mike Dash <mdash@ndap-lic.com>, David Gitman <david@gitman.net>

Mike.and Dave,

Seepafinalized a CPK indication of interest with their board of directors yesterday evening PT. We received last night an
indication of interest from eee let's discuss next steps at 11:15am ET.

(Note: This is not an executed version. Renee will send that through later this morning.)

Jeremy

 

ara CPK LOI 2017.03.09.pdf
288K

hups://mail google.com/mail/u/1/?ui=2&ik=cc55727el c&view=pt&msg= | Sab887de74a3ba6&q=jeremy failkS40gmail. com&qs=truc&search=query&siml=! 5ab887d... 1/1
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 32 of 41

   

- Exhibit 31 -
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 33 of 41

INTENTIONALLY
OMITTED
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 34 of 41

 
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 35 of 41

édn Buryjewos meip 0} paau am og gy uj Jueweasbe Ue soejid ul nd 0} Bul em aly

i
|

“uUyUOO aseRaid ‘Aualar Yayo Yj 84) Jo JUBY Ul yog Bune} Aeyo s,o4; ‘Auezer 0} ayods ysnf
‘8}0sM WOd'o[|-depuOueusiGp uewyd preg ‘Wy B'Lb 20Z ‘SL 42 ‘PAA UO

“SYURY

“UBIS 0} Yel JO} JUaWaalBe ue dn melp Her aney 0} Ysnd j[}m | ‘SLUIYUOD Bly BOUH “AjoUs Pea ApuEY Bulpues we ‘poo spunog

WY GP: bb 38 2b02 ‘SL Jey ‘penn

<W09'o||-depu@ysepw> yseq ayiiy

s@}0JM <U00'o||-depu@ysepwl> Yseq jBeuoiN ‘WY OP:LE 12 ‘2L0z ‘SL JEW UO

SOA

<Wwoo'o}-depu@ueuyjp> uewyig piaeg :99
<Wwod'o}-depu@ysepuls yseq jeeyolyy :oL
<Wwoo'iPUBOyerAWaah> yey Awesap

“Wed Joy pesodoid

aoa”

eas
100% Recycted 30% PCW

  

Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 36 of 41

 

Exhibit 33

  
aobasemejap | ayejsuey | snjowjuoo | ops siujynaqe | Aoraud | dew aps
‘Rae djay al) 0} Nod ayRy 0} Fey pyajj ayy uo yoyO pjay sejnoqued e Uo day soy

 

 

 

 

 

 

 

 

 

 

 

 

 

Siajoaeyy sjqemoy
suogeiodiog Jo uolsisig ‘ajeyg jo juswpedag

a yoJeas Ay\ug 0} yORg
G {
3S ywang voeUUojuy A10ySIE] 9 XBL'SMEIS.” , SNYBIG._. OHH MOA Pino
NK ‘00'0ZS JO 8d} & JOY AJOL pue
oO Ajoys!y Buy quasino uawssesse xe} asiyouey Juan Buipnjou! UoHeUUO;U! payeyep alow
a 40 QO'OLS JO 89} & JOy SMEYS Saale UES NO, ea} B 10} aIqElIeAe s) UOWeUO;UY jeUONIpPpY
>)
oO
Oo ~ i
DOPL-SP9°-Z0E *BU0Ud :
o es66 @pogyesog BQ HEN
~~ a . Pre Mee eee . Soe woe ae ae wee i
~ mo 7 : a . :
oO xassng ‘Ajundg : SEM31 - <ANQ) | sjuauinsog Jo uoyBoQuaYINY gy Soysody ‘suoyeoy}LI99
s Tee eee uF ; somone ce ses ed Aug ssauisng “aN aoe O} ¢AOH{
: : i ysanbay eB Bunwans
© AMH ‘IWLSVOS ZBLSE ‘SSGUppY smeqg alexodenias
. : Set enn ss syaby paaysi6e'
& ONI ‘SBOJAUSS SSANISNE GUVANVH ‘OWEN : ss2004 Jo aoiAlog
iL - “ . saojag paypadxy
saxel
oO NOLLVAMOSNI INSOV Gausisioad S894 PUB BUOY SON
T saeg ayesodjog
5 . | oo. suioy ayeindio5
a aYYMV13d ‘‘aleIS '  apseuiag | TRSTSpISEY | NOLWWOSNI
=e rear Do tet Aaaing eajaiag sawoysng
© ,  Auedwog | BBQYNIBO SEPA
eiaua : Hier pup AUS | snes
E | 9 ; quaer : DUEL MB = yoieag Aug
5 . : , ms. ot LOBAISSOY OWEN
we on : BUIUO SME] SIBMEOG
A OTT SDYSWANOS TWOSV TOWN Ay fuR no SOON aid
a oy See pen spares cr aebars 9 coats saxey Arg
(AdKAjppyluun) - SyeqpuSyeoy : a SHOIAYaS
J “pS aTS GLSESED | ASQ Oily:
= Aociocre FereqrunyeToaiCoOy nia vogsa0) 2040
~ Sf] EIUOD
‘ SNIGNYVLS GO05 40 LNSWSALWLS V LON SI SIHL SUP] PaTBjay
”) suo}SEnD luenbasy
“4 WOOJSASN
7 syeyeq Ayjuy Jane] sAuejaiaeg
nN. Anuaby ogy
N eee eee 3WOH
v7 Sissy USiesS MSA
ee
9
>
°
MB
a

peat
5 3 whl SRS: ECL tar Fe

i Arad renton
y

Case 1

ime
(é a t

Le a 2,
at ret

aby Bo SIBDIO pajsaly | synog | A\quessy ja1auay | sowea0g ae f AoB aeaejag

  

satu oo wnat
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 38 of 41

EXHIBIT B
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 39

sujyUOW

ioe

SS8D9NS Gor %ee

obe

“ad WRHHAA

 

obe
Z POYIOM 4s29

cane anaernsremrnnnreinawt

SSB8DONS Gor %7G

210 ‘G2 G84

+00¢$
9

£

L
0

L10z ‘oe ver

eo,
aaiWe dol g2y
“H sjAewely

 

 

siaGeuepy ssousng

POYAOAA 352°]
pauieg jejo.
SANOH [EOL
siaquiay any
SqOr |B}OL

sqor qusuind

BSUS AOQUId{i

 

$S$8] ‘S]UBWUOIAUSa PUB Sad[Asas

‘SWUSISAS 8109 JO BWUIAGN JeLUAdO oinsua PUB BdUeTdUIOS SADIUDE ‘HSL ayeHIJW oO} seooeid
380q pue splepueRls ‘saiHojouyse) AjjnujjUuOD ssauisng pue ‘s.JeWUODe ‘AyuNDes ‘Bujyjndwos
pno}> Sujfiewa Supuswedw) pue Buyenjere ‘Hujyoieesas ul diusiapes) peyesjpap apirdid

“SWUeS} BIOYSJO Bulbeuew ul peajoeld ‘euasjeoxe jeuo|eiado sags pue s}sCD soNpei oj
SOSS9I0Id PUe SLURS] ‘sWa\SAS ‘SojGojouyde] Sulziwundo pue SujjesHoyul ‘Burzyeyaas ‘Burysyqeyse
Ul PONS ‘dlysispeay punoseuiny pue uopewojsuel ‘Ino pying Buowjs YM JUeBe aBueud

"SJOYIVL BIPSW] MON 9 SdsaLULUO RS
‘JOUIDIU] SBANPECWIOS AjaA[sUaU] UIT SUOeZIUBBAO paysiiqejss pue dn-jeys 10) WyMOIB 6013s
BUMeA8p pue ‘suo}jezjuRBIO Buipling ‘sajuniioddo BulAgpuap] ‘uOIsIA Bujjeasa Ul [nJsseDons

"s1B04 % Ul WS'BS 48A0 03 SONUSAS Ul MOOPS WO) LLY JUSWdOleASp saJaWWOD
-8 Sujpes] Aq pajuawlajdwios wooeqojpaylL pue wos'snyshoL ‘Aege ‘apiMpOAA YuITelpay) se
Siapea] ALSNPU USNS OJ SUO]INIOS Jo JUBUdOJSsASp HUe UGISSep uy Bulpee] sepnjau} punosByoeg

‘sPSeu JUsl]O pue Jeniew ‘ssousng
BSUJAJOAS YM S}UBWUSeAU! ABOjOUYIE} BUUBye pue Buyoalyose ‘Hulpuswuwosde. ‘Buizyjenjdeouocs
Uf Y}BuUadIS 'SSBDINS PUB UO/YeEAOUUI JO plod|l YORIA AROA-S| B UM ANBUaAdedqUAa SAI}eaIO AJUBIH

@JeUS eye puR
qWJold ‘sees Ul UAMOIE BYeWIBIP SALIP BU} SUOLANIOS Jeo}UYDe] GulAojdap ssadans jo s1e@9A GL 18AO0

MBIAISAQ

(O0:S0-O.LN) sazeis paquN ‘UA}yoOoOIg @
SAUBWLUODS

 

AU/ OO'OSZ$ - 99°S$ SOIDUILUOD [aooy

ewe me,
Case 1:17-cv-04327-LLS-RWL Document 137-8 Filed 05/01/20 Page 40 of 41

 

Exhibit 34 -
LEU YD F200 16-203 marie aserNourn iurd

                                                    

 

 

 

 

  

 

 

   

 

 

 

   

 

   

            

saparany
vany ban yeeenny,
Coaswaianesng
GEE hac tee Cotddad £ SnD
Roe wre ated pa ReeTy 4
Cae waar eg tadas Jeaanng sg esteaciasTd ig
fuuanaory
eo wreaTg hepug sth very + manny ‘ tae,
tas 8 HAG THIAN EE POA YA ats wweras atehy ,
aries & WoUTPy bre atong tact ein . eens : ame
ores sows sovena Syunted os tn santos > °
wt pers eran neh) AIO Tb 2 teal}
bra maranth 4on |AUVINWNS SNDIOSHS| Ra my oes ps
scans Remang sieaIOND send asinine tasuezey
wt aves * need Net eo tate eat navy Doe .
Naw weg any meee INET Se reat Afeseottt eek te Guero
Bee cee ce one te stare wea en " :
ine eee Sa a ae? ge Gung
: Vanaiito gale Tae
ID fhe DEPOT RSIS LIN ZEEEL OOH MARLEE stupsa neoaes ny pranqeane
PNT E65) BISaMIy :
TELL E TPQ RDN ASH WIS YOS B51 : {e500 MHD SHG IWLOd - auaeoatd
Clore eet TRAE BA on soyaiNT “Gooy 1 3 7 . _
Cteraster: Suey pase pine pug ERODE ntrrcenenee AOS OTOH ROT HENS 3 ;
tasrevors JONYD O79
waren ATA

  

2 antearaenreNEREERSLRRNRSTTNANeNbomecmiasaaaaseta bot 4 META F HOD ED atLetierony i rents son avg a} atoIen089O Se

 

 

aT ea pee CU et) teed regia earengiiteomge

 

 

 

17-cv-04327-LLS-RWL__ Document 137-8 Filed 05/01/20 Page 41 of 41

Case 1

 
 

 
 
